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CERTIFICATE OF SERVICE

I, Thomas F. Driscoll III, Esquire, certify that I am not less than 18 years of age,
and that service of the foregoing Application Of The Debtors Pursuant To 11 US.C. § 327(e)
To Retain And Employ Jackson Lewis LLP As Counsel For The Debtors Nunc Pro Tunc
To January 14, 2009 was caused to be made on February 13, 2009, in the manner indicated upon
the entities identified on the attached service list.

Dated: February 13, 2009 DQ
ate ebruary CSD) BMA 2

Thomas F. Driscoll III (No. 4703)

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